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                       EXHIBIT 5
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                                                                                                                                     USOO678 1858B2

(12) United States Patent                                                                                       (10) Patent No.:                   US 6,781,858 B2
        Fricke et al.                                                                                           (45) Date of Patent:                        Aug. 24, 2004

(54) CUBIC MEMORY ARRAY                                                                                           5,751,012 A          5/1998 Wolstenholme et al.
                                                                                                                  5,821,558 A         10/1998 Han et al.
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                        OR (US); Daryl Anderson, Corvallis,                                                            FOREIGN PATENT DOCUMENTS
                        OR (US)                                                                            EP                   OO734.86           3/1983
(73) Assignee: Hewlett-Packard Development                                                                 E.                    : A: 3.1999
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                       Company, L.P., Houston, TX (US)                                                     GB                   10O3489            5/1963
(*) Notice:            Subject to any disclaimer, the term of this                                                         OTHER PUBLICATIONS
                       patent is extended or adjusted under 35
                       U.S.C. 154(b) by 0 days.                                                            Victor, W.C. Chan et all “Multiple Layers of CMOS Inte
                                                                                                           grated Circuites Using Recrystallized Silicon Film” IEEE
                                                                                                           Electron Device Letters, V. 22(2), Feb. 2001, pp 77-79.
(21) Appl. No.: 10/650,895                                                                                 Thomas H. Lee, “A Vertical Leap for Microchips,” Scientific
(22) Filed:     Aug. 29, 2003                                                                              American, Jan. 2002, pp 53–59.
                                                                                                           Esmat Hamdy et al., “Dielectric based antifuses for logic and
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(63) Continuation of application No. 10/116,213, filed on Apr. 2,                                          Jonathan Green et al., “Antifuse Field Programmable Gate
     2002, now Pat. No. 6,643,159.                                                                         Arrays”, Proc IEEE vol. 81(7), Jul. 1993, pp 1042–1056.
                7                                                                                          Vivek D. Kulkarni et al., “Patterning of Submicron Metal
                    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - G11C 5.   S.".             Features and Pillars in Multil vel Metallization”, J. Elec
(   )           O   ---- --- -- --------- ----------- --- ------ ----- -                  f   s      /     tochem. Soc. V.135(12), Dec. 1988, pp 3094-3098.

(58) Field of Search ............................ 365/51, 63, 105,
                                                                                                  365/96   Primary Examiner Van Thu Nguyen
                                                                                                           ASSistant Examiner J. H. Hur
(56)                          References Cited                                                             (74) Attorney, Agent, or Firm Timothy F. Myers
                U.S. PATENT DOCUMENTS                                                                      (57)                        ABSTRACT
        3.271,591 A             9/1966. Ovshinsky                                                          A cubic memory array is fabricated on a Substrate having a
        3,530,441 A             9/1970. Ovshinsky                                                          planar Surface. The cubic memory array includes a plurality
        3,641,516 A             2, 1972 Castrucci et al.                                                   of first Select-lines organized in more than one plane parallel
        4,287,571 A             9/1981 Chakravarti et al.                                                  to the planar Surface. A plurality of Second Select-lines is
        4,499,557 A             2/1985 Holmberg et al.                                                     formed in pillars disposed orthogonal to the planer Surface
        4,599,705 A             7/1986 Holmberg et al.
        5,191,550 A             3/1993 Kubota ........................ 365/96                              of the Substrate. A plurality of memory cells are respectively
        5.335.219 A             8/1994 Ovshinsky et al.                                                    coupled to the plurality of first and plurality of Second
        5,475,253 A           12/1995 Look et al. ................. 257/530                                Select-lines.
        5,625.220 A             4/1997 Liu et al.
        5,659,500 A             8/1997 Mehrad                                                                               67 Claims, 16 Drawing Sheets




                                                                                                                           as    W
                                                                                                                                       Substrate
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                                                32                           34
                                         Address                      Data          30
          28

                Read/                                Column Decoder
                E a Se                                                              18
                                         18a          18)       18C
                                                                                  level O




               Wordline
               DeCOder




                20
                                               Fig. 1
Case 2:23-cv-00444-JRG Document 1-6 Filed 09/27/23 Page 5 of 30 PageID #: 94


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                   - - --- - - - - - - - - - - - - - - - - -- - - - -- - -W


                                                                  22 76.16 (level 1 (54)
                                                                     M
                                                                         A.




                                                                                    12

                                                                                   10
                                                                              14 (level 0 (52)
Case 2:23-cv-00444-JRG Document 1-6 Filed 09/27/23 Page 6 of 30 PageID #: 95


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                     y                         2–
   y
        42b               7W
               Middle Vertical
              Electrode Pillar
                                                             . .
                                                             /W
                                                    Middle Vetical
                                                   Electrode Pillar
                                                                                   &
                                                                                        s

   V                       bit line                          bit line              2

                                               %
                                               35W5% LD
              2. 24a
       ----------mm-armesse-a-s-s--rearmummyam
                                               % 24C              -------------------
        42a                                               / W                        x
  -            Middle Wertical                   Middle    Vetical                  &
  y           Electrodel Pillar                 Electrode Pillar
  g                        bit line                          bit line




                                         Fig O 9                  Next Set of
                                                                Vertical Pillars
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                                         40



                             25b                                    25d
    42b         Middle          W                       Middle         W
                lectrode     Vertical            42     lectrode    Vertical
                            Conductor      18b                     Conductor




    42a
           %2.    (to < LD18a
                Middle
                              25a
                                W             42d
                                                      %2.
                                                        Middle
                                                                      (
                                                                    25C
                                                                      W
                lectrode     Vertical                   lectrode    Vertical
                            Conductor,                             Conductor



          20a                                          20b
                                Fig. 10
Case 2:23-cv-00444-JRG Document 1-6 Filed 09/27/23 Page 10 of 30 PageID #: 99


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    50a



   2-ra
   22 rigal          LD
                                    regal
                                     OW
          ILD                        ILD
          owan                      Town
      tries                          ity
Case 2:23-cv-00444-JRG Document 1-6 Filed 09/27/23 Page 11 of 30 PageID #: 100


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                                          40                      40          23 40                         40                     40



        23
        40
                                        4 ZAZ.
                                           LDV 24a24b
                                                 W
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                                                      %                         / W \,
                               COLO                    )            /
                               19                18                                               18b.                      19b
                                    a                            Fig. 12

        19a            --------------------------------- Y                                ---------------------------
          '-----Y
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              --------------------------------                                f-------------------------- ^
             hapsuus sess ususupoupousaan soap our rous sus T-                's-na-saaaavoso to woup a survesto user   a   1.      W 19b


                                                    -

           LD                                                           D                                                               22
     56. FOWE
            P.                               w                     P
                                                                 Fowl
                                                                                    w                   POWEll
     54                                                                              W                     B                            22
     52
                     Town                                    nown 24a 24b                                        W1
                       OWs                   W. 8a
                                                A
                                                   Prowl Ast"
                                                          Sl
                                                                                                        Fowl                            9b
   40                       COLO -                                7                   COL 1
                                19a                               0-1
Case 2:23-cv-00444-JRG Document 1-6 Filed 09/27/23 Page 12 of 30 PageID #: 101


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                      40              Fig.16
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         Towa                    R42s
                                 Will 5
           Yal        LD
                                     IP,
                                     w Fl
                                          M-23 LD
       Iran.
   2nwall                      "if"
                                will                          /
                                                                  /

           El                    regul                    M




                           Fig. 17
Case 2:23-cv-00444-JRG Document 1-6 Filed 09/27/23 Page 14 of 30 PageID #: 103




            2d                          2
                               W        2      W        18b
                             Vertical   %    Vertical
                               Pillar   2      Pilar
                         Y              2

    C.
                    Wo%2 'ad
                          i?
                         18C
Case 2:23-cv-00444-JRG Document 1-6 Filed 09/27/23 Page 15 of 30 PageID #: 104


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                               18a                  18b.

                       I              ILD L                       //
          ILD              W          LD W                    ILD % 54
     28°N ILDwas
    23b                    W
                                     rwal
                                      LD                      ILD % 52
          wan                         Will W                   wn %
    23a                                                                      40
            rwal           W           Wil          W             win        10

                     Substrate with Control Elements




                                                                  Wen %
            ris wril V inE%W
      23C                  W                         W
              wall                      wn                        OWC

     23b

     23a
            in a wra
              Wall         W            wn
                                     Substrate
                                                     W            Will
                                                                         %
                                     Fig. 21
Case 2:23-cv-00444-JRG Document 1-6 Filed 09/27/23 Page 16 of 30 PageID #: 105


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                                 18a                   18b.

                       23C         23f          23i        23
          ROW a2             /                                          ROW c2

                                 23e Row?                  23k          ROW C1

                                                            23
                                                             t          ROW CO




                                 Fig. 22                         34
                                                                 Data


                                           Top Sub-Column connect
                                          8b.         8a          LD                      18b

                                         III Pilar                               Pillar

                                                                                   --




  89
                   Bottom Sub-Column connect
                   -                                                    -
                             Bitline to sense amp circuitry
                    viaN         Gate       viaN       Gate               N
                           \- 60a-
                                 Si Substrate
Case 2:23-cv-00444-JRG Document 1-6 Filed 09/27/23 Page 17 of 30 PageID #: 106


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             Computer
              System


                           Fig. 25
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                   Form an array of Wordlines in a
                    plane parallel to a substrate


                      Form an array of bitlines
                    normal to the Wordline plane


                   Form an array of memory cells
                     between each WOrdline and
                             each bitline

                             Fig. 27

                       Apply an insulator on a           82
                              Substrate


                     Apply a first conductor in a
                     plane parallel to Substrate         83


                     Create a Control element on
                                                         84
                         the first Conductor


               Apply a second Conductor orthogonal to
                     plane of the first conductor             85

                                                                   86
           Create a memory storage element between the
              Second Conductor and the Control element

                             Fig. 28
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                                                       US 6,781,858 B2
                                1                                                                    2
                 CUBC MEMORY ARRAY                                          FIG. 8 is a partially exploded view of an exemplary
                                                                          embodiment of the invention.
     This is a continuation of application Ser. No. 10/116,213              FIG. 9 is a top view of the exemplary embodiment shown
 filed on Apr. 2, 2002, now U.S. Pat. No. 6,643,159.                      in FIG. 8.
            BACKGROUND OF THE INVENTION
                                                                            FIG. 10 is an exemplary top view of an alternative
                                                                          embodiment of the invention using a Serpentine layout.
    Personal computers, WorkStations, graphic Subsystems of                 FIG. 11 is a partially exploded view of an alternative
 displays, electronic games and other electrical devices all              embodiment of the invention.
 include memory Systems for Storing data. An ever                           FIG. 12 is a perspective view of an alternative embodi
 increasing demand exists for larger and faster memory                    ment of the invention.
 Systems. Attributes of memory technologies include data        FIG. 13 is a perspective view of the embodiment shown
 access time (i.e. speed), cost, reliability, Size (i.e. density),
                                                             in FIG. 12 having multiple layers of memory cells.
 and electrical power dissipation. Several memory technolo
 gies exist Such as Floppy drives, hard drives, CD/DVD 15 memoryFIG. 14 is an exemplary embodiment of a set of dual
 drives and Semiconductor memories. Semiconductor memo                cells.
 ries include DRAMS, SRAMs, ROMs, PROMs, OTPs,                  FIG. 15 is another exemplary embodiment of a set of dual
 EEPROMs, FLASH, and VRAM memories to just name a memory cells.
 few. While microprocessor-processing power (i.e. speed)        FIG. 16 is another exemplary embodiment of a set of dual
 has increase Significantly in keeping with Moore's Law, the memory cells.
 memory devices that communicate with the microprocessor        FIG. 17 is a partially exploded view of an exemplary
 have only been able to keep up with increasing density and memory array that incorporates the basic structure shown in
 not speed. Part of the problem with increasing the Speed of FIG. 12.
 memory devices is that as the density of memory cells
 increase within a given memory technology, capacitive 25 17.FIG. 18 is a top view of the embodiment shown in FIG.
 delays, Sense circuits and conventional memory layout orga
                                                                FIG. 19 is a top view of an alternative embodiment of the
 nizations keep the access time improvements minimal. If the invention
 access times cannot be improved along with the density structure shownusing a Serpentine layout with respect to the basic
 improvements made to the memory, the development of                           in FIG. 18.
 computer Systems will falter. Therefore a need exists for a    FIG. 20  is a perspective  view of an alternative embodi
 new memory architecture that not only increases density but ment of the invention.
 data access time as well.                                      FIG. 21 is a partially exploded view of an alternative
                                                                          embodiment of the invention.
             SUMMARY OF THE INVENTION                                       FIG. 22 is a partial schematic of an alternative embodi
   A cubic (3D) memory array is fabricated on a substrate            35   ment using dual memory cells.
 having a planar Surface. The cubic memory array includes a                 FIG. 23 is a side view of an exemplary embodiment of the
 plurality of first Select-lines organized in more than one invention.
 plane parallel to the planar Surface. A plurality of Second        FIG. 24 is a exemplary layout of a memory carrier that
 Select-lines is formed in pillars disposed orthogonal to the incorporates at least one embodiment of the invention.
 planer Surface of the Substrate. A plurality of memory cells 40 FIG. 25 is a block diagram of an electronic device, a
 are respectively coupled to the plurality of first and plurality computer System, which incorporates at least one embodi
 of Second Select-lines.                                                  ment of the invention.
          BRIEF DESCRIPTION OF THE DRAWINGS                                  FIG. 26 is an exemplary partial perspective View of an
                                                                     45   embodiment of an embedded cubic memory array.
   The invention is better understood with reference to the                  FIG. 27 is an exemplary flow chart of the basic steps used
 following drawings. The elements of the drawings are not                 to implement embodiments of the invention.
 necessarily to Scale relative to each other. Rather, emphasis               FIG. 28 is an exemplary flow chart for the basic steps to
 has instead been placed upon clearly illustrating the inven              create a memory cell that incorporates the invention.
 tion. Furthermore, like reference numerals designate corre 50
 sponding Similar parts through the Several views.                                     DETAILED DESCRIPTION OF THE
    FIG. 1 is a Schematic of a memory array for at least one                             PREFERRED EMBODIMENT
 embodiment of the invention.                                    The embodiments described herein of a 3D memory
   FIG. 2 is a Schematic diagram of the physical layout of a architecture utilize a vertical pillar to form either the row or
 memory array in one embodiment of the invention.           55 column lines used to Select a particular memory cell within
   FIG. 3 is a diagram showing an exemplary memory cell an array of memory cells. This architecture creates a cubed
 used in the memory array of FIG. 2.                           array Structure out of a plurality of memory cells that is very
                                                               Volumetrically
   FIG. 4 is an exemplary embodiment of the memory cell ture than previous     Space efficient, faster, and easier to manufac
 shown in FIG. 3.                                                                    3D-architectures that Simply expand
                                                            60 conventional cross-point memory arrays by Stacking them.
   FIG. 5 is another exemplary embodiment of the memory One embodiment described herein involves write-once
 cell shown in FIG. 3.
                                                                          arrays, also known as one-time programmable (OTP)
   FIG. 6 is another exemplary embodiment of the memory                   memory or write-once read-many (WORM) memory. When
 cell shown in FIG. 3.                                         implementing write-once arrays using the Vertical pillars as
    FIG. 7 is a partially exploded view of an embodiment of 65 bit-lines (or alternatively word-lines) in a cubic (i.e. having
 the invention for one vertical pillar column and multiple row three dimensions, although not each necessarily the same
 lines.                                                                   length) memory array, a tunnel junction is formed on the
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                                3                                                           4
 vertical pillar at the intersection of the horizontal word-lines     Conventional memory Storage elements are typically
 and the vertical bit-lines. Preferably included in the forma       implemented as parallel plate structures (or vertical capaci
 tion of the cubic memory array is a control element for each       tive wells) whose minimum area is traditionally limited by
 Storage element that is physically adjacent to the Storage         the minimum Semiconductor photolithography process
 element and in series with it between the horizontal word          geometries and the need for a transistor based control FET.
 lines and the vertical bit-lines. It should be understood by       The 3D-architecture disclosed herein allows for the forming
 those of ordinary skill in the art that the word-lines might be    of memory Storage elements in contact with the vertical
 made vertical and the column lines be made horizontal              pillars at the interSection of the horizontal and Vertical Select
 without departing from the Scope and Spirit of the invention.      lines. This formation allows for a memory Storage element
 For purposes of clarity in describing the invention in this        that has an area determined by the height of the edge of the
 application, the vertical Select lines will be referred to as      horizontal select lines and the width of the vertical select
 columns or bits lines and the horizontal select lines will be      pillar. Therefore, the area of the memory Storage element can
 referred to as word-lines or row lines. Alternatively, the be greatly reduced in this architecture thus allowing for
 horizontal Select lines may be commonly referred to as drive faster acceSS Speeds and less energy required when perform
 lines and the Vertical Select lines as Sense lines. Because the 15 ing a fusing operation for tunnel junction or dielectric
 orientation of the drive and Sense lines are interchangeable, rupture devices. Further, when the memory Storage element
 there is in actuality a set of first Select lines and a set of is formed using a tunnel junction on the Vertical edges of the
 Second Select lines that are disposed in Separate planes that horizontal and vertical Select lines, the effects of defects
 are orthogonal to each other to form the cubic memory array. found in conventional planar tunnel junctions is greatly
 One of the first or second select lines form a vertical pillar reduced. By having the memory drive and Sense Select lines
 with respect to the plane of the substrate on which the arranged in horizontal and vertical planes, respectively, the
 memory array is formed.                                            capacitance between the drive and Sense Select lines is
    A memory array is fabricated on a Substrate that defines reduced. This reduced capacitance allows for faster access
 a plane. The memory array includes a plurality of memory Speeds for the memory array.
 cells Stacked vertically. The memory cells include a dielec 25 A cubic memory array of memory cells is created using
 tric layer forming an insulating Surface and a wordline one of any various Semiconductor devices for the Storage
 disposed parallel to the plane of the Substrate on the dielec and control elements that interface to the vertical pillars,
 tric layer. The memory cell preferably has a control element which are used as part of the memory Selection circuitry.
 Surrounding the Wordline and a memory Storage element Most implementations of the 3D-architecture will be per
 Surrounding at least a portion of the control element. The formed using conventional Semiconductor equipment and
 control element has a first croSS Sectional area. The Storage Silicon Substrates as Starting materials. However, the Semi
 element has a second cross-sectional area. Preferably the conductor devices of the present invention are applicable to
 croSS Sectional area of the Storage element is preferably a broad range of Semiconductor devices technologies and
 Substantially Smaller than the croSS Sectional area of the can be fabricated from a variety of Semiconductor materials.
 control element So that the Storage element can change its 35 The following description discusses Several presently pre
 state while the control element remains unaffected. Prefer         ferred embodiments of the semiconductor devices of the
 ably the control element and the Storage element are fabri present invention as implemented in Silicon Substrates, Since
 cated as Similar types of devices, for example, tunnel the majority of currently available Semiconductor devices
 junction devices. Alternatively, when a phase-change mate are fabricated in Silicon Substrates and the most commonly
 rial is used for the Storage element, the cross-sectional area 40 encountered applications of the present invention will
 of the Storage element may be less, the same, or larger than involve silicon Substrates. Nevertheless, the present inven
 the cross-sectional area of the control element. Preferably, tion may also advantageously be employed in gallium
 the Storage element cross-sectional area is less than the arsenide, germanium, and other Semiconductor materials.
 control element cross-sectional area in order to minimize         Accordingly, the present invention is not intended to be
 power and increase the Speed of changing the memory State. 45 limited to those devices fabricated in Silicon Semiconductor
 The memory cell includes a vertical pillar, Substantially materials, but will include those devices fabricated in one or
 orthogonal to the plane of the Substrate and contacting the more of the available Semiconductor materials and technolo
 memory Storage element.                                           gies available to those skilled in the art, Such as thin-film
    With this vertical pillar structured cubic memory array, transistor (TFT) technology using polysilicon on glass Sub
 the number of memory Storage elements is only limited by 50 Strates. Other Substrates that are useful in producing the
 the aspect ratio of Semiconductor processes to vertically memory arrays of the invention include plastic and cellulose
 Stack columns, control elements and State change memory materials.
 elements for each pillar. One feature of this architecture is       It should be noted that the drawings are not true to Scale.
 that Stacking of multiple cubic arrays allows for larger arrayS Further, various parts of the active elements have not been
 than that possible with conventional Semiconductor pro 55 drawn to Scale. Certain dimensions have been exaggerated
 cesses. With this 3D-architecture of vertical pillars, up to 20 in relation to other dimensions in order to provide a clearer
 or more horizontal word-lines can be accessed per each illustration and understanding of the present invention.
 vertical bit-line.                                                  In addition, although the embodiments illustrated herein
    Further, the cubic memory array can be embedded with are Sometimes shown in two-dimensional views with vari
 conventional integrated circuits Such as microprocessors, 60 ous regions having depth and width, it should be clearly
 graphic processors, and Storage processors to name a few. understood that these regions are illustrations of only a
 For instance, a traditional CPU uses large arrays of memory portion of a device that is actually a three-dimensional
 for internal level 1 and level 2 cache memory. These cache Structure. Accordingly, these regions will have three
 memories typically consume a large area within a traditional dimensions, including length, width, and depth, when fab
 processor layout. By using a cubic memory array that is 65 ricated on an actual device. Moreover, while the present
 disposed on top of the processor core computer circuits, a invention is illustrated by preferred embodiments directed to
 Smaller die Size in terms of area is achieved.                     active devices, it is not intended that these illustrations be a
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                                                      US 6,781,858 B2
                                 S                                                                 6
 limitation on the Scope or applicability of the present inven     three dimensions.” The length of each actual dimension of
 tion. It is not intended that the active devices of the present   the array may be different quantities and an actual cube of
 invention be limited to the physical Structures illustrated.      three equal lengths may not be formed. However, “cubic' is
 These Structures are included to demonstrate the utility and      used herein in its alternative meaning of “having three
 application of the present invention to presently preferred       dimensions' to refer to the basic box like structure of the
 embodiments.                                                      memory array. Actual dimension lengths will vary depend
    FIG. 1 is a schematic diagram of a memory circuit 30 in ing on a designer's choice of the number of memory cells
 which a plurality of memory cells 22 are formed in an array per plane and the number of planes to be Stacked.
 shown here as an exemplary two dimensional 4x4 layout.               By using vertical pillars for at least one of the Select lines
 Each memory cell 22 is connected to one of a Set of used to address a memory cell 22, the memory cells 22 can
 word-lines 20 (20a-20d) shown as rows and one of a set of be Stacked closer together to increase Volumetric efficiency.
 bit-lines 18 (18a–18d) shown as columns. The memory Further, by taking advantage of the StepS used to create the
 circuit 30 is connected to a set of external address lines 32     cubic memory array, Simplified memory cells 22 can be
 and data lines 34. The address lines 32 contain a location in     formed. The memory cells 22 include at least one Storage
 an encoded form (preferably binary) for Selecting a particu 15 element, usually configurable in an on or off State, or
 lar memory cell 22 in the array of memory cells to address. containing charge that represents an on or off State.
 The wordline decoder 38 interprets some of the address lines Alternatively, memory cells 22 may also Store multiple
 to decide which row or wordline the particularly selected States or charges that represent multiple States So that more
 memory cell 22 is located. Typically, only one wordline is than one bit of information is Stored per memory cell 22.
 Selected and driven to a predetermined Voltage level and the         FIG. 3 is a block diagram of a representative memory cell
 other wordlines are typically driven to a ground level. The 22. The memory cell 22 includes a Storage element 24 and
 address lines 32 are also used by column decoder 36 to select a control element 26 in series between wordline 20 and
 a particular bit-line from bit-lines 18 to interface and decode bitline 18. In this embodiment, preferably storage element
 the Selected particular memory cell to at least one of data 24 is an antifuse device, Such as a programmable tunnel
 lines 34 by sensing the state of the selected memory cell. The 25 junction device. The antifuSe device preferably is either a
 memory circuit 30 also includes read/write/erase circuitry 28 dielectric rupture type device or a tunnel junction device.
 that is connected to the wordline decoder 38 and the column       However, the Storage element 24 can be any device that
 decoder 36 to provide the appropriate Voltages and timing to Stores a memory State that can be read out as a changed value
 the Selected and deselected memory cells 22 during each in resistance, but preferably a tunnel junction device. The
 operation. It should be noted that the erase operation might tunnel junction can be formed from oxidized metal, ther
 not be present on all types of memory circuits 30.                mally grown oxide, or deposited oxides or nitrides. The
    FIG. 1 also illustrates one exemplary organization of the storage element may also be optionally embodied with
 array of memory cells 22 to form an embodiment of a cubic Semiconductor materialS Such as poly Silicon,
 memory array. In this example, two levels (or alternatively polycrystalline, amorphous, microcrystalline, metal filament
 two planes) of memory cells 22 are formed, one upon the 35 electro migration, trap induced hysterisis, ferroelectric
 other. The memory cells of each level are preferably Sub capacitor, Hall effect, and polysilicon resistors. Other
 Stantially aligned with memory cells in the adjacent level. embodiments of the Storage element include tunneling
 Level 0 (52) includes word-lines 20a and 20c. Level 1 (54) magneto-resistive, phase-change materials or capacitive ele
 includes word lines 20b and 20d. Level 0 (52) and level 1 ments Such as floating gates.
 (54) are formed into respective planes that are Substantially 40 Preferably control element 26 is a current steering device
 parallel to a substrate surface. Bit lines 18 (18a–18d) are that exhibits non-linear behavior between Voltage applied
 formed in another plane that is orthogonal to the planes of acroSS it and the current flowing through it. Alternatively, the
 the wordlines and the Substrate. Thus each of the bit lines 18      control element 26 can have linear behavior Such as when
 forms a vertical pillar with respect to a horizontal Sub          implemented using a resistor. Preferably control element 26
 Strate. The orientation chosen is for convenience in describ 45 is formed of a tunnel junction device or pn, pin, or Schottky
 ing the invention and the actual orientation of an embodi diodes. Other diodes that can be used include Zener diodes,
 ment is arbitrary. Other arrangements for Selecting the avalanche diodes, tunnel diodes, and a four layer diode Such
 organization of the word-lines and column bitlines into a as an Silicon controlled rectifier. Alternatively, the control
 cubic array exist and still meet the Spirit and Scope of the element can be junction field effect or bipolar transistors.
 invention.                                                     50 The control element 26 is sized sufficiently to carry an
    For example, FIG. 2 is an exemplary physical layout of adequate current Such that the State of Storage element 24
 the cubic memory array of FIG. 1 that incorporates the can be changed. Preferably, this sizing is achieved by having
 invention. Here a Substrate 10, Such as a Silicon Substrate,      the croSS Sectional area of the control element 26 be larger
 forms a planar Surface 12 in which there may be incorpo than the croSS Sectional area of the Storage element 24. The
 rated control circuitry Such as column decoder 36, wordline 55 control element 26 and the Storage element 24 are preferably
 decoder 38, and read/write/erase circuitry 28 of FIG. 1. of the same device type, for example tunnel junction
 Disposed on the planar surface 12 of Substrate 10 is a first devices, but optionally, different device types can be used,
 memory plane 14 (such as level 0 (52)) formed of an array Such as diodes and tunnel junction devices, respectively for
 of memory cells 22. The first memory plane 14 has rows of the control and Storage elements. When the control element
 memory cells 22 that are connected by word-lines 20 as 60 26 is a diode, it is preferably formed using doped
 shown. Disposed on the first memory plane 14 is a Second polysilicon, amorphous Silicon, or microcrystalline Silicon.
 memory plane 16 (such as level 1 (54)) of memory cells 22 Therefore, the control element alternatively is selected from
 that are preferably Substantially aligned with the memory a group of options including: a recrystallized Semiconductor,
 cells 22 of the first memory plane 14. The two memory an amorphous Semiconductor, a polycrystalline
 planes 14, 16 are interconnected using vertical bit-lines 18 65 Semiconductor, a junction field effect transistor, a junction
 as shown thereby forming a cubic array of memory. A cubic field effect transistor with its gate connected to its Source or
 array for the purposes of this disclosure is defined as “having drain, an insulated gate field effect transistor with its gate
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 connected to its source or drain, a four-layer diode, an NPN      low Voltage potential acroSS the oxide layer, Such as during
 transistor, and a PNP transistor.                                 reading of the memory cell, the current is in the low
    For example, FIGS. 4-6 are illustrations of just a few microampere           or nanoampere range and is thus efficient for
 possible embodiments allowing for fabrication of a memory power.          When the anti-fuse is programmed by creating fila
                                                                   ments through the oxide, the current is in the microampere
 cell 22 used in a cubic memory array.                             or low milliamp range. This change in current levels creates
    For instance, FIG. 4 illustrates a first embodiment of a       a very good signal to noise ratio for Sensing whether the
 memory cell 22 that shows bit-line 18 as a column of oxide is programmed as a logical 0 or 1 State. While these
 material made of preferably tungsten (W) that will prefer current ranges are examples for 0.18 micron geometry that
 ably be deposited after the control element 26 and Storage can be achieve currently, the actual current levels will vary
 element 24 are formed. This bit-line 18 is disposed next to 1O depending on the actual proceSS geometry used. At higher
 an insulating layer of dielectric material (ILD) 40.              Voltage potentials, Such as during programming, the oxide
    Various materials can be used for ILD 40 and include           layer begins to have higher current flows due to the tunnel
 Silicon dioxide, Silicon nitride, Oxynitrides, and tetraethy ing current. This tunneling current creates a flow of electrons
 lorthosilicate (TEOS) to just name a few. The ILD can be 15 that locally heats the Storage element 24, the oxide, and
 deposited using Several different conventional technologies forms the conductive filaments through the oxide. When
 Such as chemical vapor deposition (CVD), atmospheric Sufficient energy is forced across the oxide barrier to Suffi
 pressure CVD, low pressure CVD, plasma enhanced CVD, ciently heat the fusing Site, a conducting filament is formed
 physical vapor deposition (PVD), and sputtering. The ILD through the oxide and the State of the oxide is changed
 can be planarized using conventional processes Such as permanently for a one-time programmable Structure.
 chemical mechanical polishing (CMP). ILD 40 is used Optionally, the oxide layer can be processed to be a dielec
 throughout this specification to indicate dielectric filler tric breakdown device rather than a tunnel junction device.
 material on one or more layers. The actual dielectric material      Alternative State-change technologies can be used for
 may be composed of one or more of the aforementioned Storage element 24. For example, the Storage element 24 can
 materials.                                                     25 be either a read only LeComber or silicide switch, or a
    Disposed on the ILD 40 is a wordline 20 preferably read/writeable phase-change material. One method of form
 formed of a conductive thin-film shown as metal 1, for            ing a LeComber Switch is to deposit a thin layer of amor
 instance, aluminum. The wordline 20 is oxidized, either             phous intrinsic Silicon on metal 1, (in this example, metal 1
 Self-Oxidized, thermally grown, or has a deposited oxide.           is preferably a layer of Chromium (Cr)). Then a separate
 The oxide is preferably formed over the entire exposed              metal, Such as gold (Ag) is deposited on the amorphous
 portion of the wordline 20, preferably over its entire length.     intrinsic Silicon. Before programming, the LeComber Switch
 Preferably, the thickness of the oxide is less than 100            acts as a reversed biased tunnel diode. Creating an enhanced
 Angstroms and more preferably less than 50 AngStroms.              concentrated electric field through the amorphous Silicon
 Over a portion of the oxide, another conductive thin-film,         with the invention will cause a conductive path to form or
 shown as metal 2 (preferably aluminum), is deposited and 35 allow for hopping conduction, thus creating the anti-fuse.
 patterned to form control element 26, a tunnel junction               One preferable phase-change material for a read/writeable
 device with metal 1 and metal 2 as its electrodes. Metal 2 is      (or write/erase/write) state-change element is germanium
 also called a middle electrode 42 as it is formed electrically telluride (GeTe), which can be reversibly changed from a
 between the wordline 20 and the bitline 18. Disposed on Semiconducting (amorphous) to a metallic (crystalline) State
 metal 2 and portions of the oxide where the middle electrode 40 by heating and cooling it at a proper rate. For example, if the
 42 is not present is another layer of ILD 40. A via is etched GeTe is doped So that it is p-type when in its Semiconducting
 in ILD 40 to locate the vertical pillar. A portion of the middle State and is deposited on top of an n-type Semiconductor
 electrode 42 is preferably oxidized or oxide is deposited layer, then a large contrast will be seen in the number of
 thereon to form the Storage element 24. Finally, the tungsten carriers Swept across the junction if the GeTe is changed to
 is deposited to form the bitline 18 and it contacts the oxide 45 its metallic State. By using GeTe or equivalent phase-change
 to form the storage element 24 with the middle electrode 42 material, the memory cell is capable of being read-writeable,
 and the bitline 18 as the electrodes.                              e.g. being capable of Writing, erasing, Writing many times.
    Preferably the metal 1 (20) has an oxide layer (alumina This function increases the utility of the memory cell
 (Al2O) in the case of an aluminum (Al) conductor) that is Structure for Some applications. Other phase-change mate
 fabricated directly on the top exposed Surface of the entire 50 rials can be substituted for GeTe and still meet the spirit and
 metal 1. Optionally, the metal 1 (20) and metal 2 (42) are Scope of the invention. Some examples of other preferable
 formed of aluminum, copper, or Silicide and alloys thereof phase-change materials are chalcogenide alloys Such as:
 although other conductive metals or Semiconductors can be GaSb, InSb, InSe, SbTe, GeSb-Tes, InSbTe, GaSeTe,
 used. The oxide layer interfacing with metal 1 and metal 2 SnSbTe, InSbGe, AgInSbTe, (GeSn)SbTe, GeSb(SeTe),
 forms the control element 26. Preferably, the fabrication of 55 Test GeissbS and GeSbTe.
 the oxide layer is performed after metal 1 has been etched to         Other antifuSe Structures are possible Such as Silicide
 allow for coverage over the Sidewalls. A tunnel junction Switches. Silicide switches are formed with alternatively
 control element is typically formed by a metal/oxide/metal Stacked Silicon and transition metal thin films that change
 interface and for Some embodiments may be the preferred resistance when programmed. Generally, the programming
 control element.                                                60 process for a Silicide antifuSe is irreversible. Before writing,
    When formed using an oxide layer, the Storage element 24 the Stack of transaction metal and Silicon layerS has a first
 preferably utilizes electron tunneling or alternatively dielec resistance. Appropriate row and column lines are Selected to
 tric rupture dynamics. Most preferably, the electron tunnel force a current through a Selected memory cell. The current
 ing is direct tunneling thereby requiring that the oxide layer passing through the Selected memory cell creates Joule heat
 thickneSS be minimal, Such as about 5 to about 50 Ang 65 that triggerS and completes the Silicidation reaction. By
 Stroms. Such a storage element 24 creates an anti-fuse using the concentrated electric field created by the invention,
 Structure with preferable current/voltage characteristics. At a current is focused and thus the Joule heat is concentrated in
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 a Smaller area thereby allowing the programming to be               vertical bit-lines 18 are deposited on the previous vertical
 completed in less time than without the invention. The              bit-line 18 to extend the vertical pillar.
 Silicidation reaction causes the resistance of the Selected            FIGS. 8 and 9 demonstrate how the cubic array of
 memory cell to change to a much lower value. To read the            memory is expanded as desired to increase the number of
 programmed memory cell, a Small Sense current is Supplied           memory Storage elements. FIG. 8 is a partially exploded
 to a Selected memory cell and the Voltage drop across the           View of the components and layers of the cubic memory
 Selected memory cell is Sensed. Some preferable Silicide            array. FIG. 9 is a top view of the array shown in FIG.8. In
 compounds are NiSi, NiSi, NiSi, PdSi, PdSi, and Pt.Si,              FIG. 8, a Substrate Surface includes one or more horizontal
 and Pt.Si. Other possible transition metals in various com          bit lines such as 19a and 19b, here representing column 0
 pounds with silicon include Ti, V, Cr, Mn, Fe, Co, Zr, Nb,          and column 2 of a memory array. On the horizontal bit lines
 Mo, Rh, Hf, Ta, W, and Ir.                                          19a and 19b is one or more sets of memory cells, such as 50a
   FIG. 5 is an alternative embodiment of that shown in FIG.         and 50b. The various horizontal row lines are insulated from
 4 but which includes an angled Storage element 25 that contact with adjacent horizontal row lines by various layers
 surrounds at least two edges of middle electrode 42. By of ILD 40. The vertical bit-lines 18a and 18b are positioned,
 Surrounding at least two edges of middle electrode 42 an 15 deposited on, and make contact to the respective horizontal
 enhanced electric field is formed at the intersection of the
 two edges. When Shorting an antifuse, Such as with tunnel bits          lines 19a and 19b. An ILD 40 dielectric layer also
                                                                    separates the adjacent vertical bit-lines 18a and 18b. The
 junction or dielectric breakdown devices used for angled vertical           bit-lines 18a–18d make contact to the oxide layer
 Storage element 25, this enhanced electric field allows for a formed on        middle electrodes 42a-d (see FIG. 9). The middle
 lower programming Voltage or lower current for reduced electrodes are
 total power, and for a faster programming time. In this (FIG. 9) by a separated    control
                                                                                               from the horizontal row lines 20a-b
                                                                                             element,   preferably a tunnel junction
 embodiment, an ILD 40 is placed down on a surface device or diode in memory cell 22.
 adjacent and abutting the bit-line 18, preferably made of
 tungsten (W). When the bit-line 18 is deposited, it forms a Select    FIG. 9 also shows how an additional set of vertical pillar
 contact Surface over the angled Storage element 25. By 25 cells 50b       lines is placed adjacent to the Second Set of memory
 having an angled Storage element, the electric field produced                 to continue to extend the array. Adjacent to the
                                                                    additional
 when a Voltage is applied between the middle electrode 42 isolation for        set of vertical pillars is another ILD 40 to provide
 and the bitline 18 is enhanced, thereby allowing for lower                        another Set of memory cells.
 power requirements in the form a lower programming                    FIG.   10  is  an alternative embodiment of the cubic
 Voltage, lower programming current, or combination memory array in which the horizontal word-lines 20a and
 thereof. Also, the enhanced electric field provides for faster 20b are formed in a Serpentine manner to create angled
 programming speed. Otherwise, the construction of the Storage elements 25a-d. These angles in the Serpentine row
 memory cell in FIG. 5 is similar to that described for FIG. lines create enhanced electrical fields to lower the program
 4.                                                                 ming power, Voltage, current, and time required to program
    FIG. 6 is another embodiment of the memory cell 22 in 35 the angled Storage elements 25a-d.
 which the control element 26 is formed of a pn junction               FIG. 11 is a partially exploded view of an alternative
 diode. In this embodiment, an ILD 40 is placed on a surface embodiment of the invention. In this embodiment, a first set
 and a first metal, Such as aluminum, is deposited and of memory cells 50a form an intersection with vertical
 patterned to create the wordline 20. A layer of n silicon 44 pillars bit-lines 18a and 18b. A second set of memory cells
 is then deposited over the wordline 20. A subsequent layer 40 50b is isolated from the first set of memory cells 50a and
 of p silicon 46 is then deposited over the n silicon 44. The vertical pillars 18a and 18b by an optional interlayer dielec
 combined Silicon is then patterned and etched to create the tric (ILD). The second set of memory cells 50b form an
 control element 26. An ILD 40 is then deposited or other intersection with vertical pillar bit lines 18c and 18d. Ver
 wise applied on the layer of p Silicon 46. A via is etched in tical pillar bit-lines 18a and 18c make electrical contact with
 ILD 40 to locate the vertical bitline 18. The edge of the layer 45 horizontal bit-line 19a. Vertical pillar bit-lines 18b and 18d
 of p-silicon 46 that interfaces with the vertical bitline 18 is make electrical contact with horizontal bit-line 19b. Illus
 oxidized to create a Silicon dioxide layer for Storage element trated in this figure, there are three levels of memory cells 22
 24 preferably less than 100 Angstroms in thickness and more Stacked upon one another vertically. Depending on the
 preferably less than 50 angstroms in thickness. The vertical particular fabrication processes used, it may be difficult to
 bitline 18 is then deposited. The storage element 24 has the 50 keep extending the vertically Stacked layers of memory cells
 layer of p silicon 46 and the bitline 18 as electrodes and the 22 due to non-planarity of the previously fabricated Surface.
 oxide layer as the antifusible material.                           Therefore, one approach to allowing for additional height is
    FIG. 7 is an exploded view of one vertical bit-line and to create a layer of ILD (not shown) on top of the formed
 three horizontal wordlines for one embodiment of the inven         layers of memory cells. This layer of ILD is then planarized
 tion illustrating how a vertical bit-line interfaces to conven 55 such as with CMP or other known planarization techniques
 tional planar Select lines. In this embodiment, a traditional to form a new planar substrate on which horizontal bit-lines
 horizontal column select line 19 is disposed parallel to the 19c. and 19d are disposed. Further processing of adding
 Surface on Some Substrate of material, Such as a conventional      additional sets of memory cells on the horizontal bit-lines
 processed Semiconductor wafer. An interface layer of ILD           19c-d allows for extending the vertical dimension of the
 40 is deposited on the horizontal column select line 19. A 60 cubic memory array.
 vertical bitline 18 is formed next to the ILD 40 and contacts         FIG. 12 is a perspective view of an alternative embodi
 the horizontal column select line 19. Then a memory cell 22, ment of the invention which increases Volumetric efficiency
 such as any of those shown in FIGS. 4-6 or other possible when using antifuSe Storage elements by eliminating the
 implementations, is disposed on the ILD 40. A vertical Spacer ILD 40 used to Separate the next adjacent horizontal
 bitline 18 is then formed on the previous vertical bitline 18 65 word-lines from the present set of vertical pillar bit-lines. In
 to create the vertical pillar. Second and third memory cells this embodiment, a dual memory cell 23 is disposed directly
 22 are deposited on the previous memory cell 22 and the between two vertical pillar bit-lines 18a, 18b forming stor
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 age elements 24a and 24b, respectively. Although two               to form the storage element 24 with the middle electrode 42
 Storage elements are formed, only one Storage element is           and the bitline 18 as the electrodes.
 actually used in a memory array. The other Storage element            FIG. 15 is an alternative embodiment of dual memory cell
 is left unprogrammed (open circuited for an antifuse) and          23 to that shown in FIG. 14 but which includes two angled
 only provides an additional capacitive load. Thus more than        Storage elements 25 that Surround at least two edges of
 one Storage element contacts the Vertical pillar on a particu      middle electrode 42. By Surrounding at least two edges of
 lar level, however, only one Storage element is actually used.     middle electrode 42 an enhanced electric field is formed at
    FIG. 13 is a perspective view of a stacked implementation       the interSection of the two edgeS. This enhanced electric
 of the alternative embodiment shown in FIG. 12. In this            field allows for lower programming power, Voltage, current,
 embodiment, a first level 52 is disposed on a horizontal           or time when shorting an antifuse, Such as with tunnel
 bit-lines 19a and 19b. Optionally depending on the process         junction or dielectric breakdown devices used for angled
 used, the first level 52 can be disposed on the surface of the     storage element 25. In this embodiment, an ILD 40 is placed
                                                                    down on a Surface adjacent and abutting the bit-line 18,
 substrate and the horizontal bit lines 19a and 19b (shown as preferably made of tungsten (W). When the bit-line 18 is
 dashed figures) can be attached to the top of the vertical 15 deposited, it forms a contact Surface over the angled Storage
 pillars 18a and 18b, respectively. The vertical pillar bit-lines   element 25. By having an angled Storage element, the
 18a are 18b are electrically coupled to and contact the            electric field produced when a Voltage is applied between the
 horizontal bit-lines 19a, 19b, respectively. A second level of     middle electrode 42 and the bit-line 18 is enhanced, thereby
 memory cells 54 is disposed on the first level of memory           allowing for a lower programming Voltage. Otherwise, the
 cells 52. A third level of memory cells 56 is disposed on the      construction of the memory cell in FIG. 15 is similar to that
 second level of memory cells 54. The vertical pillars 18a and      described for FIG. 14.
 18b are preferably formed using tungsten (W) although
 other metal conductors can be used. Storage elements 24a 23FIG.          16 is another embodiment of the dual memory cell
                                                                     in which the control elements 26 are formed of pn
 and 24b are shown contacting a Single vertical pillar, thus
 Sharing the column Select signal.                               junction diodes. In this embodiment, an ILD 40 is placed on
                                                              25 a Surface and a first metal, Such as aluminum, is deposited
    FIGS. 14-16 are exemplary embodiments of a dual and patterned to create the wordline 20. A layer of n silicon
 memory cell 23 used when the Vertical pillars contact more 44       is then deposited over the wordline 20. A subsequent
 than one memory cell per layer.                                 layer of p silicon 46 is then deposited over the n silicon 44.
    For instance, FIG. 14 illustrates a first embodiment of a    The combined Silicon is then patterned and etched to create
 dual memory cell 23 that shows bit-line 18 as a column of two control elements 26. An ILD 40 is then deposited or
 material made of preferably tungsten (W) that will prefer otherwise applied on the layer of p Silicon 46. A via is etched
 ably be deposited after the control element 26 and Storage in ILD 40 to locate the vertical bitline 18. The edges of the
 element 24 are formed. This bit-line 18 is disposed next to layer of p-silicon 46 that interfaces with the vertical bitlines
 an insulating layer of dielectric material (ILD) 40.            18 are oxidized to create a Silicon dioxide layer for Storage
    Various materials can be used for ILD 40 and include 35 element 24 preferably less than 100 Angstroms in thickness
 Silicon dioxide, Silicon nitride, Oxynitrides, and tetraethy and more preferably less than 50 angStroms in thickness.
 lorthosilicate (TEOS) to just name a few. The ILD can be Vertical bitline 18 are then deposited. The storage elements
 deposited using Several different conventional technologies 24 have the layers of p silicon 46 and the bitlines 18 as
 Such as chemical vapor deposition (CVD), atmospheric electrodes and the oxide layer as the anti-fusible material.
 pressure CVD, low pressure CVD, plasma enhanced CVD, 40 FIG. 17 is a partially exploded view of an embodiment of
 physical vapor deposition (PVD), and sputtering. The ILD a 3D memory array that incorporates the basic dual memory
 can be planarized using conventional processes Such as cell 23 shown in FIGS. 12-13. In this embodiment, hori
 chemical mechanical polishing (CMP). ILD 40 is used                Zontal bit-lines 19a and 19b are formed within a Substrate
 throughout this specification to indicate dielectric filler surface that defines a plane. Sets of memory cells 50c-d that
 material on one or more layers. The actual dielectric material 45 are formed in planes parallel to the plane of the Substrate are
 may be composed of one or more of the aforementioned disposed on the substrate. Vertical bit-lines 18a–18d are
 materials.                                                        formed in planes that are perpendicular to the plane of the
    Disposed on the ILD 40 is a wordline 20 preferably substrate. The vertical bit lines 18a-d are adjacent to and
 formed of a conductive thin-film shown as metal 1, for            make contact with the Storage elements in the respective
 instance, aluminum. The wordline 20 is oxidized, either 50 adjacent set of memory cells 50c-d. Optionally, the cubic
 Self-Oxidized, thermally grown, or deposited. The oxide is memory array can be extended by adding an ILD layer (not
 preferably formed over the entire exposed portion of the shown) on the set of memory cells and planarizing it to form
 wordline 20, preferably over its entire length. Preferably, the a new Substrate Surface. On this planar Surface, another Set
 thickness of the oxide is less than 100 Angstroms and more of horizontal bit-lines 19.c and 19d are disposed and are
 preferably less than 50 Angstroms. Over a portion of the 55 connected by vias into the top ILD layer to the respective
 oxide, another conductive thin-film, shown as metal 2             vertical pillars 18c and 18d. Further sets of memory cells
 (preferably aluminum), is deposited and patterned to create and Vertical bit-lines are then optionally built upon the
 two isolated control elements 26, a tunnel junction device additional Substrate Surface. Because there is no ILD sepa
 with metal 1 and metal 2 as its electrodes. Metal 2 is also       rating a vertical bit line from adjacent Sets of memory cells,
 called a middle electrode 42 as it is formed electrically 60 each vertical bit line is in contact with two storage elements
 between the wordline 20 and the bitline 18. Disposed on per horizontal layer.
 metal 2 and portions of the oxide where the middle electrode         FIG. 18 is a top view of the embodiment of that shown in
 42 is not present is another layer of ILD 40. A via is etched FIG. 17. In this embodiment, the middle electrodes 42c and
 in ILD 40 to locate the vertical pillar. A portion of the middle 42d contact the vertical pillar bit-lines 18c and 18d,
 electrode 42 is preferably oxidized or oxide is deposited 65 respectively, forming memory Storage elements 24b and
 thereon to form the Storage element 24. Finally, the tungsten 24c. In addition, because there is no ILD 40 separating the
 is deposited to form the bitline 18 and it contacts the oxide     next set of middle electrodes 42a and 42b from the vertical
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 pillar bit-lines 18c and 18d, respectively a second set of through vias 48. Because the vertical pillars 18a and 18b
 memory Storage elements 24a and 24d are formed.                   Short the memory Storage elements 24 on the respective
    FIG. 19 is a top view of an alternative embodiment of that Sides of the pillar, only one Storage element 24 per pillar can
 shown in FIG. 18 in which serpentine horizontal word-lines be         accessed at one time. Therefore, every other pillar is
 are used to enhance electric fields to lower the programming connected         to a Sub-column connect line. Each memory cell
 power, Voltage, current and time of the memory cells that are has      a storage element 24 in Series with a control element 26
                                                                   that are coupled in Series through a middle electrode 42. The
 actually programmed. By having two edges form a point or vertical          pillar 18a or vertical pillar 18b are interconnected to
 corner, the electric field is increased for a given Voltage a horizontal
 potential between the middle electrodes 42 (42a-42d) and amp circuitrysingle       in
                                                                                         bit line 19 that is connected to the sense
                                                                                       the   column decoder 36 of FIG. 1. This
 the vertical pillar bit-lines 18 (18a–18d).                       interconnection is achieved by enabling one of transistors
    FIGS. 20 and 21 are perspective views of alternative 60a or 60b to select the desired vertical pillar 18a and 18b.
 embodiments of the invention. FIG.22 is a partial schematic          FIG. 24 is an exemplary layout of a memory carrier 70
 of the alternative embodiments shown in FIGS. 20 and 21.
 In the embodiment of FIG. 20, rather than routing the             that  incorporates at least one embodiment of the invention.
 bit-lines Select Signals using horizontal bit-lines to the 15 The       memory carrier represents any of Several conventional
                                                                   Standard or proprietary memory card formats, Such as a
 vertical pillar bit-lines 18a and 18b, the vertical pillar PCMCIA, PC card, Smart memory, memory stick, digital
 bit-lines 18a and 18b make contact with the Substrate 10
 directly to the control transistors 60a and 60b (FIG. 22), film,  memory
                                                                          ATA, and compact flash to just name a few. The
                                                                              carrier includes a mechanical interface 72 that
 respectively. The control transistors are fabricated on the provides for         both mechanical and electrical contact with a
 Substrate using conventional Semiconductor processing and particular connector            for the type of memory carrier Standard
 can be implemented in various technologies, for example, a implemented. An optional                electrical interface 74 makes
 field effect transistors (FET). Alternatively, the control tran electrical coupling with the electrical contacts on the
 Sistors can be replaced with other control elements Such as mechanical connector 72 and provides the proper Security,
 diodes 61a and 61b. Preferably, the control transistors or 25 address decoding, Voltage translation, write protection, or
 diodes are disposed Substantially beneath or adjacent to the
 vertical pillar bit-lines 18a–b. By having the sense transis other       typical interface functions with a set of memory ICs 80
                                                                   that incorporate at least one memory array of the invention.
 tors 60a, 60b (FIG. 22) or diodes 61a and 61b distributed
 beneath the vertical pillar bit-lines 18a, 18b respectively, A      carrier 76, for example a printed circuit board or ceramic
                                                                   Substrate,  typically is used to physically Support the memory
 increased Sensing Speed is achieved by reducing capacitive ICs 80, electrical         interface 74, and mechanical interface 72.
 loading on the sense lines. Memory cells 23a, 23b, 23c are It will be appreciated           to those of known skill in the art that
 stacked upon one another in first level 52, second level 54, Some electrical devices might incorporate the functionality
 and third level 56, respectively. An ILD 40 is placed over the of electrical interface 74 thereby obviating its need in
 last level, third level 56 in this example, to act as a memory carrier 70. The set of memory ICs 80 may include
 passivation layer or as a planar Surface on which to build 35 one or more devices. Further, there may be more than one
 additional layers.                                                type of memory array, such as an OTP memory IC and
    FIG. 21 is a partially exploded diagram of an alternative read-writeable memory ICs for memory ICs 80.
 embodiment in which the cubic array is formed on a                   FIG.25 is a block diagram of an electronic device, in this
 Substrate that is not necessarily a Semiconductor Substrate. example a computer System 90, which incorporates at least
 In this embodiment, the diodes 61a and 61b are formed after 40 one embodiment of the invention. In particular for a com
 the vertical pillars 18a and 18b are formed. The diodes 61a puter System, Several different electrical devices as shown
 and 61b are preferably formed using a ramped doped Silicon may be incorporated into the package. Here a microproces
 deposition process. After the diodes 61a and 61b are formed, sor 92 is coupled to a memory circuit 94 used to hold
 an ILD layer (not shown) is deposited between the diodes computer executable instructions and/or user data. Exem
 61a and 61b before depositing the horizontal bitlines 19a 45 plary memory circuits 94 include BIOS memory, DRAM
 and 19b. The diodes 61a and 61b may be electrically memory, ROM, and various levels of internal or external
 connected to one or more vertical pillars, thus allowing for cache memory just to name a few. The microprocessor 92 is
 shared diodes. Preferably, the diodes 61a and 61b are sized also connected to a storage device 96 Such as a hard disk
 appropriately to provide adequate current during program drive, floppy drive, CD/DVD drive, tape drive or other mass
 ming without causing failure.                                  50 Storage devices Such as those that incorporate Semiconductor
    FIG. 22 shows a partial schematic of the antifuse con memory ICs using the invention. The microprocessor 92
 nection to the word-lines and bit-lines of the wordline 38 and    may include the 3D-memory architecture in its internal
 column 36 decoders (see FIG. 1). Rows a0-2, b0-2, and c0-2 cache memory for instance. The memory 94 may also
 are outputs from the wordline decoder 38 (not shown, but include the 3D-memory architecture in its memory ICs, such
 see FIG. 1) and couple to dual memory cells 23a–23.l. 55 as in BIOS or other system memory areas such as DRAM
 Vertical pillar bit-lines 18a, 18b connect to a Switching and ROM circuits. The microprocessor 92 is further con
 element such as sense transistors 60a and 60b (or alterna nected to a display device 98 that may also incorporate
 tively diodes 61a and 61b), respectively which are con memory ICs that utilize the invention. Therefore, in an
 trolled and input into the column decoder 36. Based on the electrical device, there may one or more implementations of
 contents of the inputs of address lines 32 coupled into the 60 the invention, thus demonstrating the widespread applica
 column decoder 36, the sensed data is output on data bus 34. bility of the invention to improving existing electrical
   FIG. 23 is a sectional view of an alternative embodiment          devices.
 of the invention in which the vertical pillar select lines 18a For instance, FIG. 26 is an exemplary embodiment of an
 and 18b are formed in more than one pillar and intercon embedded cubic memory array 100 that integrates the
 nected by top sub-column connect 88 and bottom Sub 65 memory 94, such as level 1 and/or level 2 cache, with the
 column connect 89. The top 88 and bottom 89 sub-column microprocessor 92. The embedded cubic memory array 100
 drive connects couple to the vertical pillars 18a and 18b is fabricated on top of the die of microprocessor 92 thereby
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 allowing for a Smaller die area size. Microprocessor 92                 What is claimed is:
 forms a horizontal substrate surface. Preferably, memory 94             1. A cubic memory array, comprising,
 is built of one or more vertical layers of memory cells 22 or           a Substrate;
 23 (not shown) to form the embedded cubic memory array                  a plurality of levels of memory cells formed on the
 100. The memory cells 22 or 23 are interconnected by a first 5             Substrate one level upon the other, the memory cells of
 and Second Set of Select lines. At least one of the Select lines           each level are Substantially aligned with memory cells
 is formed within the embedded cubic memory array 100 as                    in the adjacent level;
 Vertical pillars. The Sets of Select lines are electrically             a plurality of sets of first select lines formed in each of the
 connected to Selection circuitry formed on the die of micro 1O             plurality of levels of memory cells substantially parallel
 processor 92. The microprocessor 92 is electrically attached              to the Substrate;
 to a package 95 such as with bonding wires 97 or TAB                    a plurality of Sets of Second Select lines formed in planes
 circuit technology. After the microprocessor is attached to                orthogonal to the Substrate; and
 package 95 it is encapsulated (not shown) to provide pro                at least one Switching element disposed on top of at least
                                                                            one of the plurality of Second Select lines
 tection from contaminants and handling. Although the 15 wherein each of the memory cells is adjacent to a respec
 embedded cubic memory array 100 is shown as disposed on                    tive first and Second Select line.
 a microprocessor integrated circuit, those of Skill in the art
 will appreciate that any integrated circuit that utilizes one ofThe    2.        cubic memory array of claim 1, wherein at least
                                                                               the memory cells Stores multiple States allowing for
 memory circuits can be Substituted for the microprocessor more than one bit of information in the memory cell.
 92. One example would be a graphics display controller. 20 3. The cubic memory array of claim 1, wherein at least
    FIG. 27 is an exemplary flow chart of the basic steps used one of the memory cells includes an antifuse device.
 to implement various embodiments of the invention. In Step             4. The cubic memory array of claim 1, wherein at least
 62, an array of a set of word-lines is formed in a plane that        one  of the memory cells includes a tunnel junction device.
 is Substantially parallel to a Substrate or other planar Surface.      5. The cubic memory array of claim 1, wherein at least
 In Step 64, an array of a Set of bit-lines is formed Substan 25 one of the memory cells includes,
 tially normal to the plane or word-lines or the Substrate              a storage device having a first cross-sectional area;
 surface. By forming the bit-lines normal to the plane of the           a control element in Series with the Storage device and
 Substrate and hence the word-lines, a set of Vertical pillar               having a Second cross-sectional area greater than the
                                                                            first cross-sectional area.
 bit-lines is created. In Step 66, an array of memory cells is          6. The cubic memory array of claim 1, wherein the
 formed preferably between each respective wordline and plurality
 each bitline, although some intersections of word-lines and Sten. of Sets of Second Select lines are formed of tung
 bit-lines may not contain memory cells if those address                7. The cubic memory array of claim 1, wherein at least
 locations are desired to be unprogrammable.                          one of the memory cells includes an angled Storage element
                                                                   35
    FIG. 28 is an exemplary flow chart for the basic steps to patterned to create an enhanced electric field.
 create a memory cell that incorporates the invention. In Step          8. The cubic memory array of claim 1, wherein at least
 82 an insulator, such as ILD 40, is applied on a substrate one of the memory cells has dual Storage elements and
 Surface, preferably Substantially planar. In Step 83, a first wherein only one Storage element is used.
 conductor is applied in a plane parallel to the Substrate to 40 9. The cubic memory array of claim 1, wherein the
 form a wordline. In Step 84, a control element is created on plurality of Sets of first Select lines are formed in at least a
 the first conductor, Such as a tunnel junction device or a partial Serpentine pattern.
 diode. In Step 85, a Second conductor that is orthogonal               10. The cubic memory array of claim 1, where at least one
 (normal or perpendicular) to the plane of the first conductor of the plurality of sets of second select lines are formed from
 is applied to the processed Substrate Surface. In Step 86, a 45 an array of Sub-pillars connected by a Subset of Second Select
 memory Storage element is created between the Second lines formed parallel to the Substrate Surface.
 conductor and the control element. The memory Storage                  11. A cubic memory array, comprising:
 element is preferably a tunnel junction antifuSe device but            a Substrate;
 other memory Storage elements can be used and Still fall               a first plane of an array of memory cells disposed on the
 within the Scope and Spirit of the invention.                     50       Substrate;
    While the present invention has been particularly shown             a first Set of Select lines forming rows of memory cells on
 and described with reference to the foregoing preferred and                the first plane;
 alternative embodiments, those skilled in the art will under           a Second plane of an array of memory cells disposed on
 Stand that many variations may be made therein without                     the first plane and aligned with the array of memory
 departing from the Spirit and Scope of the invention as 55                 cells of the first plane;
 defined in the following claims. This description of the               a Second Set of Select lines orthogonal to the planer
 invention should be understood to include all novel and                    Surface interconnecting the first and Second planes of
 non-obvious combinations of elements described herein, and                 memory cells wherein each memory cell is adjacent to
 claims may be presented in this or a later application to any              one of the first Set of Select lines and adjacent to one of
 novel and non-obvious combination of these elements. The 60                the orthogonal Second Set of Select lines, and
 foregoing embodiments are illustrative, and no Single fea              at least one Switching element disposed on top of one of
 ture or element is essential to all possible combinations that             the Second Set of Select lines.
 may be claimed in this or a later application. Where the               12. The cubic memory array of claim 11, wherein at least
 claims recite “a” or “a first element of the equivalent one of the memory cells Stores multiple States allowing for
 thereof, Such claims should be understood to include incor 65 more than one bit of information in the memory cell.
 poration of one or more Such elements, neither requiring nor           13. The cubic memory array of claim 11, wherein at least
 excluding two or more Such elements.                                 one of the memory cells includes an antifuse device.
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   14. The cubic memory array of claim 11, wherein at least             an isolation layer formed on a portion of the horizontal bit
 one of the memory cells includes a tunnel junction device.               line;
   15. The cubic memory array of claim 11, wherein at least             a vertical bit line formed next to the isolation layer and
 one of the memory cells includes,                                         contacting the horizontal bit line;
   a storage device having a first cross-sectional area;                a Switching element disposed on top of the vertical bit
   a control element in Series with the Storage device and                line;
      having a Second cross-sectional area greater than the             a first memory cell having,
      first cross-sectional area.                                          a storage element adjacent to the vertical bit line,
    16. The cubic memory array of claim 11, wherein the                    a control element in Series with the Storage element,
 Second Set of Select lines are formed of tungsten.               1O          and
    17. The cubic memory array of claim 11, wherein at least            a first horizontal word line disposed on the isolation layer
 one of the memory cells includes an angled Storage element                and contacting the control element; and
 patterned to create an enhanced electric field.                        at least one additional memory cell having a Second
    18. The cubic memory array of claim 11, wherein at least               horizontal word line disposed on the first memory cell
 one of the memory cells has dual Storage elements and 15                  and contacting the Vertical bit line.
 wherein only one Storage element is used.                              32. The cubic memory array of claim 31, wherein at least
    19. The cubic memory array of claim 11, wherein the first one more    of the Storage elements Stores multiple States allowing
 Set of Select lines are formed in at least a partial Serpentine for33.          than one bit of information in the Storage element.
                                                                            The cubic memory array of claim 31, wherein at least
 pattern.
    20. The cubic memory array of claim 11, wherein at least one34.ofThe      the Storage elements is an antifuse device.
 one of the Second Set of Select lines are formed from an array one of the cubic         memory array of claim 31, wherein at least
                                                                                   Storage cells is a tunnel junction device.
 of Sub-pillars connected by a Subset of Second Select lines            35. The cubic memory array of claim 31, wherein
 formed parallel to the Substrate Surface.                              the Storage device has a first cross-sectional area;
    21. A cubic memory array, comprising:                               the control element has a Second cross-sectional area
    a plurality of horizontal Select lines,                       25
                                                                           greater than the first croSS-Sectional area.
    a plurality of Vertical Select lines,                               36. The cubic memory array of claim 31, wherein the
    a plurality of memory cells, each memory cell adjacent to Vertical bit line comprises tungsten.
       a horizontal Select line and adjacent to a vertical Select       37. The cubic memory array of claim 31, wherein the
       line; and                                                     Storage element comprises an angled Storage element pat
    at least one Switching element disposed on top of at least terned to create an enhanced electric field.
       one of the plurality of vertical Select lines,                   38. The cubic memory array of claim 31, wherein the
    wherein the plurality of memory cells are arranged to memory cells has an additional Storage element and wherein
       form planes of horizontal Select lines and planes of the additional Storage element is not used to Store informa
       Vertical Select lines orthogonal to each other.               tion.
                                                                  35
    22. The cubic memory array of claim 21, wherein at least            39. The cubic memory array of claim 31, wherein the
 one of the memory cells Stores multiple States allowing for horizontal bit line is formed in at least a partial Serpentine
 more than one bit of information in the memory cell.                pattern.
    23. The cubic memory array of claim 21, wherein at least            40. The cubic memory array of claim 31, where the
 one of the memory cells includes an antifuse device.             40
                                                                     vertical   bit line is formed from an array of sub-pillars
    24. The cubic memory array of claim 21, wherein at least connected by a Subset of Second horizontal bit lines.
 one of the memory cells includes a tunnel junction device.             41. A cubic memory array, comprising:
    25. The cubic memory array of claim 21, wherein at least            a plurality of horizontal word lines formed in a plurality
 one of the memory cells includes,                                         of layers,
    a storage device having a first cross-sectional area;         45    a plurality Stacked memory cells, each memory cell
    a control element in Series with the Storage device and                disposed on one of the plurality of horizontal word
       having a Second cross-sectional area greater than the               lines,
       first cross-sectional area.                                      a plurality of horizontal too Sub-column connects,
    26. The cubic memory array of claim 21, wherein the                 a plurality of horizontal bottom Sub-column connects,
 Vertical Select lines are formed of tungsten.                    50    a plurality of Vertical bit lines contacting the plurality of
    27. The cubic memory array of claim 21, wherein at least               Stacked memory cells, wherein the vertical bit lines are
 one of the memory cells includes an angled Storage element                formed in more than one pillar and are interconnected
 patterned to create an enhanced electric field.                           by one of the plurality of too Sub-column connects and
    28. The cubic memory array of claim 21, wherein at least               one of the plurality of bottom Sub-column connects,
 one of the memory cells has dual Storage elements and 55                  wherein the every other pillar is connected to one of a
 wherein only one Storage element is used.                                 too Sub-column connect or a bottom Sub-column con
    29. The cubic memory array of claim 21, wherein the                    nect.
 horizontal of Select lines are formed in at least a partial            42. The cubic memory array of claim 41, wherein at least
 Serpentine pattern.                                                 one of the Stacked memory cells includes a storage element
    30. The cubic memory array of claim 21, where at least 60 that Stores multiple States allowing for more than one bit of
 one of the Vertical Select lines are formed from an array of information in the Storage element.
 Sub-pillars connected by a Subset of Second horizontal Select          43. The cubic memory array of claim 41, wherein at least
 lines.                                                              one of the Stacked memory cells comprises an antifuse
    31. A cubic memory array, comprising:                            device.
    a Substrate having a first Surface                            65    44. The cubic memory array of claim 41, wherein at least
    a horizontal line disposed parallel to first Surface of the one of the Stacked memory cells comprises a tunnel junction
      Substrate;                                                     device.
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                                19                                                                    20
   45. The cubic memory array of claim 41, wherein at least                 55. The cubic memory array of claim 50, wherein at least
 one of the Stacked memory cells comprises,                              one of the vertical Select lines comprises tungsten.
   a storage device having a first cross-sectional area;                    56. The cubic memory array of claim 50, wherein at least
   a control element having a Second cross-sectional area                one of the memory Storage cells comprises an angled Storage
      greater than the first croSS-Sectional area.                       element patterned to create an enhanced electric field.
   46. The cubic memory array of claim 41, wherein at least                 57. The cubic memory array of claim 50, wherein the
 one of the plurality of Vertical bit lines comprises tungsten.          memory cells has an additional Storage element and wherein
   47. The cubic memory array of claim 41, wherein at least              the additional Storage element is not used.
 one of the Stacked memory Storage cells comprises an                       58. A cubic memory array, comprising:
 angled Storage element patterned to create an enhanced                    a Substrate;
 electric field.
    48. The cubic memory array of claim 41, wherein the                    a set of horizontal word lines formed parallel to the
 Stacked memory cells has an additional Storage element and                   Substrate in a plurality of layers,
 wherein the additional Storage element is not used.                       a set of top Sub-column connects,
    49. The cubic memory array of claim 41, wherein one of 15              a set of bottom Sub-column connects, the top and bottom
 the plurality of horizontal word lines is formed in at least a               Sub-column connects parallel to the Substrate and
 partial Serpentine pattern.                                                  orthogonal to the Set of horizontal word lines,
    50. A cubic memory array, comprising                                   a set of vertical bitlines wherein the vertical bit lines are
    control circuitry;                                                       formed in more than one pillar and are interconnected
   a first horizontal Select line;                                           by one of the Set of top Sub-column connects and one
   a first Set of memory cells adjacent to the first horizontal              of the Set of bottom Sub-column connects,
      Select line;                                                         wherein the every other pillar is connected to one of a top
   a first Set of Vertical Select lines interSecting with the first          Sub-column connect or a bottom Sub-column connect;
      Set of memory cells,                                          25       and
   a Second horizontal Select line isolated from the first Set of          a set of memory cells, each memory cell having,
     memory cells,                                                            a storage element adjacent to a pillar,
   a Second Set of memory cells adjacent to the Second                        a control element in Series with the Storage element
      horizontal Select line;                                                   connected to a horizontal word line.
   a Second Set of Vertical Select lines interSecting with the             59. The cubic array of claim 58, further comprising:
     Second set of memory cells;                                           control circuitry having Switching elements formed in the
   Switching elements disposed on top of the vertical Select                 Substrate;
      lines,                                                           a set of horizontal bit lines, each interconnected to every
    a set of horizontal bitlines connecting the Switching 35              other pillar using the Switching elements to Select a
       elements to the control circuitry;                                 desired pillar.
    a third horizontal Select line isolated from and Stacked           60. The cubic memory array of claim 58, wherein at least
       upon the first horizontal Select line;                       one of the Storage elements Stores multiple States allowing
    a third set of memory cells adjacent to the third horizontal 40 for more than one bit of information in the Storage element.
       Select line;                                                    61. The cubic memory array of claim 58, wherein at least
    a fourth horizontal Select line isolated from and Stacked       one of the Storage elements is an antifuse device.
       upon the Second horizontal Select line; and                     62. The cubic memory array of claim 58, wherein at least
    a forth set of memory cells adjacent to the fourth hori one of the Storage cells is a tunnel junction device.
       Zontal Select line;                                       45    63. The cubic memory array of claim 58, wherein
   wherein the first set of vertical select lines intersect with       the Storage device has a first cross-sectional area;
       the third Set of memory cells, and the Second Set of            the control element has a Second cross-sectional area
       vertical select lines intersect with the fourth set of             greater than the first croSS-Sectional area.
       memory cells.                                                   64.  The cubic memory array of claim 58, wherein the
    51. The cubic memory array of claim 50, wherein at least 50 Vertical bit line comprises tungsten.
 one of the memory cells includes a Storage element that               65. The cubic memory array of claim 58, wherein the
 Stores multiple States allowing for more than one bit of Storage element comprises an angled Storage element pat
 information in the Storage element.                                terned to create an enhanced electric field.
    52. The cubic memory array of claim 50, wherein at least           66. The cubic memory array of claim 58, wherein the
 one of the memory cells comprises an antifuse device.           55
                                                                    memory
    53. The cubic memory array of claim 50, wherein at least the additional   cells has an additional Storage element and wherein
 one of the memory cells comprises a tunnel junction device. tion.                  Storage element is not used to Store informa
    54. The cubic memory array of claim 50, wherein at least           67. The cubic memory array of claim 58, wherein the
 one of the memory cells comprises,
                                                                 60 horizontal word line is formed in at least a partial Serpentine
    a storage device having a first cross-sectional area;           pattern.
    a control element having a Second cross-sectional area
       greater than the first croSS-Sectional area.
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               UNITED STATES PATENT AND TRADEMARK OFFICE
                     CERTIFICATE OF CORRECTION

PATENT NO.      : 6,781,858 B2                                                                    Page 1 of 1
DATED           : August 24, 2004
INVENTOR(S) : Fricke et al.

       It is certified that error appears in the above-identified patent and that said Letters Patent is
       hereby corrected as shown below:


       Column 17
       Line 65, delete "Surface' and insert therefor -- Surface; --.
       Column 18
       Lines 48, 53 and 56, delete “too” and insert therefor -- top --.




                                                                   Signed and Sealed this
                                                                Fifth Day of April, 2005


                                                                                  WDJ
                                                                             JON W. DUDAS
                                                         Director of the United States Patent and Trademark Office
